    Case 1:16-cv-00678-PLM-RSK ECF No. 49 filed 02/27/18 PageID.290 Page 1 of 8



                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION


BARRY WAYNE ADAMS,

                          Plaintiff,                           Case No. 1:16-cv-678

v.                                                            Hon. Paul L. Maloney

COUNTY OF CALHOUN,
STATE OF MICHIGAN, and
MICHIGAN DEPARTMENT
OF CORRECTIONS,

                          Defendants.
                                           /

                                REPORT AND RECOMMENDATION

                 This is a pro se civil rights action brought pursuant to 42 U.S.C. § 1983 against

defendants County of Calhoun (“County”), the State of Michigan (“Michigan”), and the Michigan

Department of Corrections (“MDOC”).1 The only remaining defendant is the County.2 This

matter is now before the Court on the County’s motion to dismiss (ECF No. 37) and plaintiff’s

“Notice of request for summary disposition; or, in the equivalent, verified motion for summary

judgment” (docketed as a motion for summary judgment) (ECF No. 43).

                 I.       Plaintiff’s amended complaint

                 Plaintiff’s amended complaint contains vague and sometimes incomprehensible

statements of alleged misconduct (ECF No. 5, PageID.63-67), disjointed legal arguments (citing



1
  The Court notes that plaintiff’s amended complaint purports to bring this action under the following civil statutes
(28 U.S.C. §§ 1331, 1333, 1343, 1367, 1443, and 1651; and, 42 U.S.C. §§ 1981-1983, 1985-1988, and 1994) and the
following criminal statutes (18 U.S.C. §§ 2-4, 35, 241, 242, 371, 401, 872, 1001, 1341, 1346, 1505, 1510, 1581-1595,
1621-1622, and 1961-1968). Amend. Compl. (ECF No. 5, PageID.64).
2
 While plaintiff’s amended complaint also purports to sue “as yet unnamed Jane and John Does, individuals and state
actors operating under color of law,” plaintiff has never identified these unknown parties.

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 Case 1:16-cv-00678-PLM-RSK ECF No. 49 filed 02/27/18 PageID.291 Page 2 of 8



among other things natural law, federal statutes, federal constitutional law, and state contract law)

(id. at PageID.67-70), and requests for relief which include $2.5 million in damages and an

investigation of defendants by “the Federal District Attorney, or the Federal Bureau of

Investigation’s Government Corruption Division” (id. at PageID.70-71). The Court summarized

plaintiff’s claims in a previous report and recommendation as follows:

              In his amended complaint, plaintiff identifies himself as a “natural person”
       who is an “inhabitant of the republic of Michigan.” Amend. Compl. (docket no. 5,
       PageID.65). Since 1996, plaintiff alleged that “certain agents and confederates” of
       defendants have conspired to deprive him of his “constitutionally-protected rights
       to the dominion, association, and consortium of his natural daughters.” Id. at
       PageID.65. Specifically, on October 31, 2006, plaintiff was arrested “with
       malicious intent and under fraudulent pretenses” by agents of the County. Id. From
       March 7, 2007 to February 28, 2015, during his eight years of incarceration,
       Michigan and the MDOC “fraudulently deprived [plaintiff] of his liberty (for a
       purported ‘failure to pay’ a fraudulently-assigned ‘debt’)”. Id. at PageID.66.

               Plaintiff appears to raise two constitutional claims. First, plaintiff alleged
       that defendants violated his “clearly-established Constitutional right” of paternal
       dominion under the Fourteenth Amendment. Id. at PageID.67-68, 70. Second,
       plaintiff alleged defendants violated his rights under the Thirteenth Amendment
       and the Anti-Peonage statute by incarcerating him for a “failure to pay.” Id. at
       PageID.68, 70. Plaintiff seeks $2,500,000.00 in damages. Id. at PageID.70.

Report and Recommendation (ECF No. 27, PageID.169-170), adopted in Order (ECF No. 30).

               Plaintiff alleged that since 1996, the four state actors, i.e., the “County of Calhoun,”

“37th Circuit Court,” “10th District Court,” and “Calhoun County Friend of the Court,” conspired

to deprive plaintiff of his dominion, association, and consortium of his natural daughters. Amend.

Compl. at PageID.65. In addition, “agents and confederates” of the state actors arrested plaintiff

and unconstitutionally returned him “to a condition of peonage and involuntary servitude in

violation of federal law.”    Id.   The peonage and involuntary servitude refer to plaintiff’s

incarceration for failing to pay child support, which he characterized as follows:

       That from March 7, 2007, to February 8, 2015, and with the further complicity of
       the de facto corporate “STATE OF MICHIGAN”, “MICHIGAN DEPARTMENT

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 Case 1:16-cv-00678-PLM-RSK ECF No. 49 filed 02/27/18 PageID.292 Page 3 of 8



        OF CORRECTIONS” and their agents and confederates, Petitioner was
        fraudulently deprived of his liberty (for a purported “failure to pay” a fraudulently-
        assigned “debt”) in furtherance of said return to that de facto system of peonage as
        has been established and maintained by those state actors mentioned in paragraph
        4, above, resulting in further and additional injuries and damages.

Id. at PageID.66.

                II.    Defendant County’s motion to dismiss (ECF No. 37)

                The County has moved to dismiss plaintiff’s complaint pursuant to Fed. R. Civ. P.

12(b)(6) for failure to state a claim upon which relief can be granted. Plaintiff did not oppose the

motion; however, as discussed infra, plaintiff filed his own motion for summary judgment. A

complaint may be dismissed for failure to state a claim if it fails to give the defendants a fair notice

of the claim and the grounds upon which it rests. Bell Atlantic Corporation v. Twombly, 550 U.S.

544, 555 (2007).

                [A] complaint must contain sufficient factual matter, accepted as true, to
        state a claim to relief that is plausible on its face. A claim has facial plausibility
        when the plaintiff pleads factual content that allows the court to draw the reasonable
        inference that the defendant is liable for the misconduct alleged. The plausibility
        standard is not akin to a probability requirement, but it asks for more than a sheer
        possibility that a defendant has acted unlawfully. Where a complaint pleads facts
        that are merely consistent with a defendant’s liability, it stops short of the line
        between possibility and plausibility of entitlement to relief.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal citations and quotation marks omitted). In

making this determination, the complaint must be construed in the light most favorable to the

plaintiff, and its well-pleaded facts must be accepted as true. Morgan v. Churchs Fried Chicken,

829 F.2d 10, 12 (6th Cir. 1987). However, while pro se pleadings are to be liberally construed,

see Williams v. Curtin, 631 F.3d 380, 383 (6th Cir. 2011), “this court is not required to conjure up

unpled allegations.” Dietz v. Sanders, 100 Fed. Appx. 334, 338 (6th Cir. 2004).

                Plaintiff seeks relief pursuant to 42 U.S.C. § 1983, which “provides a civil cause of

action for individuals who are deprived of any rights, privileges, or immunities secured by the

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    Case 1:16-cv-00678-PLM-RSK ECF No. 49 filed 02/27/18 PageID.293 Page 4 of 8



Constitution or federal laws by those acting under color of state law.” Smith v. City of Salem,

Ohio, 378 F.3d 566, 576 (6th Cir. 2004). To state a § 1983 claim, a plaintiff must allege two

elements: (1) a deprivation of rights secured by the Constitution and laws of the United States, and

(2) that the defendant deprived him of this federal right under color of law. Jones v. Duncan, 840

F.2d 359, 360-61 (6th Cir. 1988); 42 U.S.C. § 1983.

                  Here, plaintiff alleged that defendants’ deprived him of his federal rights under the

Thirteenth Amendment, the Fourteenth Amendment and the “Anti-Peonage statute,” 42 U.S.C. §

1994. The Thirteenth Amendment provides in pertinent part that “Neither slavery nor involuntary

servitude, except as a punishment for crime whereof the party shall have been duly convicted, shall

exist within the United States, or any place subject to their jurisdiction.” The Fourteenth

Amendment provides in pertinent part that “No State shall make or enforce any law which shall

abridge the privileges or immunities of citizens of the United States; nor shall any State deprive

any person of life, liberty, or property, without due process of law; nor deny to any person within

its jurisdiction the equal protection of the laws.” Finally, 42 U.S.C. § 1994 (“Peonage abolished”)

states that: “The holding of any person to service or labor under the system known as peonage is

abolished and forever prohibited in any Territory or State of the United States; and all acts, laws,

resolutions, orders, regulations, or usages of any Territory or State, which have heretofore

established, maintained, or enforced, or by virtue of which any attempt shall hereafter be made to

establish, maintain, or enforce, directly or indirectly, the voluntary or involuntary service or labor

of any persons as peons, in liquidation of any debt or obligation, or otherwise, are declared null

and void.” 3



3
  “The Supreme Court has defined peonage, forbidden under § 1994, as compulsory service in the payment of a debt.
Bailey v. Alabama, 219 U.S. 219, 31 S. Ct. 145, 55 L. Ed. 191 (1911). The Ninth Circuit held that ‘peonage’ requires
that a person be held against his or her will and be forced to believe that he or she has no alternative but to perform

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    Case 1:16-cv-00678-PLM-RSK ECF No. 49 filed 02/27/18 PageID.294 Page 5 of 8



                  The Court notes that the County’s statement of facts cite plaintiff’s allegations from

his original complaint. See Defendant County’s Brief (ECF 38, PageID.227-228). As discussed in

the previous report and recommendation, the complaint at issue is plaintiff’s amended complaint,

not his original complaint.4 Nevertheless, the County points out that the operative allegations in

plaintiff’s claim relate to actions by the state courts, including plaintiff’s eight-year incarceration

at the MDOC. In this regard, the County relies on information obtained from the MDOC Offender

Tracking Information System (“OTIS”), which reflects that plaintiff was sentenced by the Calhoun

Circuit Court for failure to pay child support as required by a court order (M.C.L. § 750.165) on

March 5, 2007, and discharged from the MDOC on February 28, 2015. See OTIS report (ECF No.

11-1, PageID.112). This conviction appears to be the basis for plaintiff’s claim that he was

deprived of his liberty and illegally incarcerated by the State of Michigan and the MDOC from

March 7, 2007 through February 28, 2015. See Amend. Compl. at PageID.66.5

                  Once plaintiff’s amended complaint is shorn of its tortuous legalese, his federal

lawsuit consists of a collateral attack on his 2007 conviction for failing to pay child support, on

the ground that state court proceedings were illegal and violated his federal rights under the

Thirteenth Amendment, Fourteenth Amendment, and 42 U.S.C. § 1994. Construing plaintiff’s

amended complaint liberally, his complaint also claims that the state court order to pay child




labor to pay off a debt. U.S. v. Mussry, 726 F.2d 1448, 1452-53 (9th Cir.1984). Del Elmer; Zachay v. Metzger, 967
F. Supp. 398, 402 (S.D. Cal. 1997).
4
  The docket sheet reflects that plaintiff served, or attempted to serve, the original complaint on June 3, 2016 (ECF
No. 2). Then, plaintiff served, or attempted to serve, the amended complaint on June 9, 2016 (ECF No. 6). Pursuant
to Fed. R. Civ. P. 15(a)(1)(b) “[a] party may amend its pleading once as a matter of course within: (A) 21 days after
serving it…” While it is unclear from the record whether plaintiff properly served either complaint, the Court views
plaintiff’s amended complaint (ECF No. 5) as his one amendment “as a matter of course” under the Court rules.
5
  See People v. Adams, No. 276845, 2008 WL 4923036 at *1 (Mich. App. Nov. 18, 2008) (“Defendant appeals as of
right his jury trial conviction for failing to pay child support from April 1, 2005, to September 30, 2006. MCL 750.165.
Defendant was sentenced to 25 to 96 months' imprisonment for his conviction. We affirm.) (footnote omitted).

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 Case 1:16-cv-00678-PLM-RSK ECF No. 49 filed 02/27/18 PageID.295 Page 6 of 8



support (which formed the basis for the 2007 conviction) is also illegal. However, plaintiff’s

claims should be dismissed for lack of jurisdiction.

               A federal district court has no authority to review final judgments of state-court

judicial proceedings. District of Columbia Court of Appeals v. Feldman, 460 U.S. 462, 482 (1983);

Rooker v. Fidelity Trust Co., 263 U.S. 413, 415-16 (1923). A loser in the state court may not be

heard in the federal district court on complaints of injuries by a state-court judgment rendered

before the federal proceeding commenced. Exxon Mobil Corp. v. Saudi Basic Industries Corp.,

544 U.S. 280, 283-84 (2005). “The pertinent question in determining whether a federal district

court is precluded under the Rooker-Feldman doctrine from exercising subject-matter jurisdiction

over a claim is whether the ‘source of the injury’ upon which plaintiff bases his federal claim is

the state court judgment.” In re Cook, 551 F.3d 542, 548 (6th Cir. 2009). Here, the “sources of

injury” upon which plaintiff bases this federal lawsuit are the state court proceedings related to

child support. This Court lacks jurisdiction to review those proceedings. Exxon Mobil Corp., 544

U.S. at 283-84; Feldman, 460 U.S. at 482; Rooker, 263 U.S. at 415-16. See, e.g., Rowe v. City of

Detroit, No. 00-1353, 2000 WL 1679474 at *2 (6th Cir. Nov. 2, 2000) (“Because Rowe's complaint

seeks federal court review of state court orders regarding child support, the Rooker-Feldman

doctrine precludes the exercise of federal jurisdiction . . . Rowe's complaint merely reflects his

dissatisfaction with the state court's child support orders and is essentially an attempt to obtain

unauthorized federal review of the state court orders calculating and enforcing his child support

obligations.”). Accordingly, plaintiff’s lawsuit should be dismissed.

               III.   Plaintiff’s motion for summary judgment (ECF No. 43)

               Plaintiff did not file a response to the County’s motion to dismiss. Rather, he filed

a motion for summary judgment. Plaintiff brought his motion pursuant to Fed. R. Civ. P. 56(a),



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 Case 1:16-cv-00678-PLM-RSK ECF No. 49 filed 02/27/18 PageID.296 Page 7 of 8



which provides that “[t]he court shall grant summary judgment if the movant shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment as a matter of

law.” Even if the Court assumes that all of the facts alleged by plaintiff are true, plaintiff is not

entitled to judgment as a matter of law. Plaintiff’s motion for summary judgment fails to address

the fatal flaw in this case, i.e., that the Rooker-Feldman doctrine precludes the exercise of federal

jurisdiction in this case. Accordingly, plaintiff’s motion for summary judgment should be denied.

               IV.     Unserved John and Jane Does

               Finally, plaintiff has not identified the individual defendants who allegedly assisted

the County, the State of Michigan, and the MDOC to violate his federal constitutional rights. As

discussed, this Court lacks jurisdiction in this case. Accordingly, the entire case, including

plaintiff’s claims against the unidentified and unserved individual defendants, should be dismissed.

               V.      RECOMMENDATION

               For these reasons, I respectfully recommend that defendant Calhoun County’s

motion to dismiss (ECF No. 37) be GRANTED and that plaintiff’s motion for summary judgment

(ECF No. 43) be DENIED.

               I further recommend that the unidentified individual defendants, who have neither

been identified nor served, be DISMISSED.




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 Case 1:16-cv-00678-PLM-RSK ECF No. 49 filed 02/27/18 PageID.297 Page 8 of 8



               I further recommend that this action be TERMINATED.


Dated: February 27, 2018                             /s/ Ray Kent
                                                     United States Magistrate Judge



ANY OBJECTIONS to this Report and Recommendation must be served and filed with the Clerk
of the Court within fourteen (14) days after service of the report. All objections and responses to
objections are governed by W.D. Mich. LCivR 72.3(b). Failure to serve and file written objections
within the specified time waives the right to appeal the District Court’s order. Thomas v. Arn, 474
U.S. 140 (1985); United States v. Walters, 638 F.2d 947 (6th Cir. 1981).




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